Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 1 of 22
           Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 2 of 22




                                                TABLE OF CONTENTS
                                                                                                                                Page(s)
I.    INTRODUCTION ................................................................................................................. 1
II.   ARGUMENT ......................................................................................................................... 1
      A.      Ms. Bennis’ Affirmative Opinion on a Reasonable Royalty Is Improperly Based on
              Counting the Number of Patents EcoFactor Has Ever Asserted in Litigation Between
              EcoFactor and ecobee ................................................................................................... 2
               1.      Ms. Bennis’ reasonable royalty opinion relies on dropped patents and patents
                       asserted in other litigation against ecobee. ......................................................... 2
               2.      Ms. Bennis’ reliance on previously asserted patents and on patents only
                       asserted in other litigation is highly prejudicial and confusing—such opinions
                       should be excluded under Rule 403. ................................................................... 2
               3.      Ms. Bennis’ assumption that all patents asserted against ecobee have equal
                       value is unfounded and contrary to law. ............................................................. 6
      B.      Ms. Bennis Relies on ecobee Licenses that She Fails to Establish Are Comparable to
              the Hypothetical Negotiation ........................................................................................ 9
               1.      Ms. Bennis again relies on improper and unsupported patent counting in her
                       opinion on ecobee’s license with Stingray. ...................................................... 10
               2.      Ms. Bennis improperly fails to account for extent of use in her opinion on other
                       ecobee patents. .................................................................................................. 12
      C.      In Comparing the Size of EcoFactor’s Licensees to the Size of ecobee, Ms. Riley
              Improperly Relies on The Licensees’ Worldwide Revenues ..................................... 13
      D.      Ms. Bennis Improperly Relies on a Triple Hearsay Reference to a Valuation About
              Which Nothing Is Known, Including Whether It Even Exists ................................... 15




                                                                    i
            Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 3 of 22




                                             TABLE OF AUTHORITIES
Cases
Biscotti Inc. v. Microsoft Corp.,
  No. 2:13-CV-01015, 2017 WL 2537021 (E.D. Tex. May 30, 2017).......................................... 3
Cordis Corp. v. Medtronic AVE, Inc.,
  511 F.3d 1157 (Fed. Cir. 2008)................................................................................................... 5
Finjan, Inc. v. Secure Computing Corp.,
  626 F.3d 1197 (Fed. Cir. 2010)................................................................................................... 9
Golden Bridge Tech. v. Apple Inc.,
  No. 5:12-CV-04882-PSG, 2014 WL 2194501 (N.D. Cal. May 18, 2014) ..................... 7, 10, 11
GPNE Corp. v. Apple, Inc.,
 No. 12-CV-02885-LHK, 2014 WL 1494247 (N.D. Cal. Apr. 16, 2014) ................................. 11
LaserDynamics, Inc. v. Quanta Computer, Inc.,
  694 F.3d 51 (Fed. Cir. 2012)................................................................................................. 2, 14
Linksmart Wireless Tech. LLC v. Gogo, LLC,
  8:18-CV-00654-JAK (JDEx), Dkt. No. 296 (C.D. Cal. Sept. 3, 2021) .................................... 13
Lucent Techs., Inc. v. Gateway, Inc.,
  580 F.3d 1301 (Fed. Cir. 2009)................................................................................................. 10
Mobile Telecomms. LLC v. ZTE (USA) Inc.,
 No. 2:13-CV-946, 2016 WL 8260584 (E.D. Tex. July 22, 2016) .............................................. 3
Mondis Tech. Ltd. v. LG Elecs., Inc.,
 No. CV 15-4431 (SRC), 2021 WL 4077563 (D.N.J. Sept. 8, 2021) .......................................... 9
MV3 Partners LLC v. Roku, Inc.,
 No. 6:18-cv-00308-ADA, Dkt. No. 332 (W.D. Tex. Sept. 29, 2020)......................................... 3
PACT XXP Technologies, AG v. Xilinx, Inc.,
  No. 2:07-CV-563, 2012 WL 2774971 (E.D. Tex. May 13, 2012).............................................. 5
Pavo Solutions, LLC v. Kingston Tech. Co., Inc.,
  No. 8:14-cv-01352, 2019 WL 8138163 (C.D. Cal. Nov. 20, 2019) ......................................... 14
Rembrandt Wireless Techs., LP v. Samsung Elecs. Co.,
  No. 2:13-CV-213, 2015 WL 627430 (E.D. Tex. Jan. 31, 2015)................................................. 6
Swagway, LLC v. Int’l Trade Comm’n,
  923 F.3d 1349 (Fed. Cir. 2019)................................................................................................... 4
Tex. Instruments Inc. v. Cypress Semiconductor Corp.,
  90 F.3d 1558 (Fed. Cir. 1996)..................................................................................................... 4
Tex. Instruments Inc. v. Int’l Trade Comm’n,
  851 F.2d 342 (Fed. Cir. 1988)..................................................................................................... 4
Uniloc U.S.A. v. Microsoft Corp.,
  632 F.3d 1292 (Fed. Cir. 2011)................................................................................................... 9


                                                                  ii
             Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 4 of 22




United States v. Brownlee,
  744 F.3d 479 (7th Cir. 2014) .................................................................................................... 16
United States v. Jones,
  37 F.3d 633 (5th Cir. 1994) ........................................................................................................ 2
Videoshare, LLC v. Google LLC,
  No. 6:19-cv-663-ADA, Dkt. 215 (W.D. Tex. Nov. 15, 2021) .................................................... 7
VLSI Tech. LLC v. Intel Corp,
  No. 6:21-cv-0057-ADA, Dkt. No. 508 (W.D. Tex. Feb. 19, 2021) ............................................ 3
Wordtech Sys., Inc. v. Integrated Network Sols., Inc.,
 609 F.3d 1308 (Fed. Cir. 2010)................................................................................................. 13
Rules
Fed. R. Evid. 403 ................................................................................................................ 1, 2, 3, 5
Fed. R. Evid. 702 ............................................................................................................................ 1
Fed. R. Evid. 703 ...................................................................................................................... 1, 16




                                                                      iii
         Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 5 of 22




I.     INTRODUCTION

       Plaintiff EcoFactor, Inc. (“EcoFactor”) hereby moves to exclude expert opinions of

Defendant ecobee, Inc.’s (“ecobee”) damages expert Melissa Bennis, pursuant to Fed. R. Evid.

403, 702, and 703. Ms. Bennis’ opinion improperly relies on EcoFactor’s other lawsuits against

ecobee, as well as patents from this case that are no longer asserted. She asserts that the parties to

the hypothetical negotiation would calculate the royalty rate for the patents in this case using the

total number of patents (16) that have ever been asserted in EcoFactor lawsuits against ecobee.

Ms. Bennis uses this number as one of only two mathematical inputs to calculate her royalty rate.

But informing the jury about the other patents EcoFactor has asserted has no probative value, and

any is outweighed by the danger of unfair prejudice under Rule 403. The parties cannot examine

Ms. Bennis about her royalty rate calculation without disclosing that EcoFactor no longer asserts

certain patents in this case or that EcoFactor has asserted other patents in other lawsuits. Such

references should be excluded, along with Ms. Bennis’ royalty rate calculation.

       Ms. Bennis’ opinions also suffer additional methodological flaws under Rules 702 and 703.

Ms. Bennis devotes much of her analysis to emphasizing negative findings against EcoFactor in

other cases, while ignoring findings in EcoFactor’s favor. However, besides each patent having a

distinct litigation history, when Ms. Bennis calculates her royalty rate for the patents-in-suit, she

assumes (without evidence) that each of the 16 patents EcoFactor has ever asserted against ecobee

has equal monetary value. This is an improper assumption unsupported by a technical or economic

analysis of similarities between the patents and their relevance to ecobee. Her separate reliance on

other ecobee licenses or third-party hearsay statements are also unreliable and should be excluded.

II.    ARGUMENT




                                                  1
         Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 6 of 22




       A.      Ms. Bennis’ Affirmative Opinion on a Reasonable Royalty Is Improperly
               Based on Counting the Number of Patents EcoFactor Has Ever Asserted in
               Litigation Between EcoFactor and ecobee
                       1.      Ms. Bennis’ reasonable royalty opinion relies on dropped
                               patents and patents asserted in other litigation against ecobee.
       Ms. Bennis’ opinion is that the reasonable royalty in this case is a lump sum of

for each asserted patent. To compute this figure, she starts with the

                                                     , and then divides by 16, which is the number

of patents EcoFactor has ever asserted against ecobee across numerous cases. Ex. 1 (Expert Report

of Melissa Bennis) (“Bennis Rpt.”) at 123-24, n.634. Ms. Bennis’ apparent logic is that



                                              to the portfolio of “16 patents asserted [by EcoFactor]

against ecobee across WDTX1, WDTX2, D. Del., and WDTX3.” Id. at 123-24.

       Throughout her report, Ms. Bennis also emphasizes findings against EcoFactor in other

litigation, while ignoring all findings in EcoFactor’s favor. See, e.g., id. at 23-28. She summarizes

these other litigation matters in a chart that appears four times in her report, highlighting patents

that were dismissed or withdrawn. See, e.g., id. at 28, 82, 113, App. C.

                       2.      Ms. Bennis’ reliance on previously asserted patents and on
                               patents only asserted in other litigation is highly prejudicial
                               and confusing—such opinions should be excluded under Rule
                               403.
       Ms. Bennis’ opinion should be excluded “if its probative value is substantially outweighed

by a danger of one or more of the following: unfair prejudice, confusing the issues, misleading the

jury, undue delay, [or] wasting time.” Fed. R. Evid. 403; United States v. Jones, 37 F.3d 633 (5th

Cir. 1994) (“Daubert did not dispense with the district court's discretion to exclude expert

testimony under rule 403”). The Federal Circuit has made clear that an expert’s damages opinion

should be excluded where the information therein may confuse or mislead the jury.



                                                 2
         Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 7 of 22




LaserDynamics, Inc. v. Quanta Computer, Inc., 694 F.3d 51, 67-68 (Fed. Cir. 2012).

       Ms. Bennis’ royalty rate calculation requires informing the jury that, in addition to the

patents-in-suit, EcoFactor has previously asserted 12 other patents against ecobee that are not at

issue here. This includes one patent that was previously asserted in Case No. 6:21-cv-00428, three

patents that were previously asserted in Case No. 6:20-cv-00078, and eight other patents that were

previously asserted in ITC proceedings and are currently being asserted in other district court

actions against ecobee. Informing the jury about patents not asserted here, including patents with

invalidity findings as to certain claims, would cause significant prejudice to EcoFactor. Even

informing the jury that EcoFactor has sued ecobee multiple times would cause substantial juror

confusion and unfair prejudice (e.g., suggesting that EcoFactor is improperly targeting ecobee or

that ecobee is a serial infringer) and, in any event, would serve only to distract from the issues the

jury must decide in this case. Courts, including this one, routinely exclude evidence of other

litigation and previously asserted patents under Rule 403. See, e.g., EcoFactor, Inc. v. Google LLC,

No. 6:20-cv-00075-ADA, Dkt. 192, at 2 (W.D. Tex. Jan. 31, 2022) (granting motion in limine to

“exclude references to the parties’ other litigations and claims besides EcoFactor’s claims against

Google in this case”); VLSI Tech. LLC v. Intel Corp, No. 6:21-cv-0057-ADA, Dkt. No. 508, at 5

(W.D. Tex. Feb. 19, 2021) (granting motion in limine to exclude references to other litigations and

proceedings); MV3 Partners LLC v. Roku, Inc., No. 6:18-cv-00308-ADA, Dkt. No. 332, at 4 (W.D.

Tex. Sept. 29, 2020) (granting motion in limine to exclude references to “[IPR] Concerning the

Patent-in-Suit” and to exclude “any references to a parallel proceeding”); Biscotti Inc. v. Microsoft

Corp., No. 2:13-CV-01015, 2017 WL 2537021, at *1 (E.D. Tex. May 30, 2017) (finding probative

value in allowing the plaintiff to reference PTAB findings was “substantially outweighed by the

danger of the unfair prejudice”); Mobile Telecomms. LLC v. ZTE (USA) Inc., No. 2:13-CV-946,




                                                  3
         Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 8 of 22




2016 WL 8260584, at *2 (E.D. Tex. July 22, 2016) (excluding references or evidence “regarding

unrelated litigations, investigations, or accusations involving the parties or their affiliates”).

        12 of the 16 patents on which Ms. Bennis bases her calculation of a reasonable royalty are

not at issue here. Several have been dropped from litigation, and several have been subject to

adverse infringement or validity rulings by the ITC (e.g., U.S. Patent No. 8,131,497), the PTAB

(e.g., U.S. Patent No. 10,534,382), or this Court (e.g., U.S. Patent No. 9,194,597). In some cases,

an adverse ruling prompted a dismissal. It is highly likely that discussion of adverse rulings on

other EcoFactor patents, including patents in the same family as patents at issue here, would be

improperly understood by the jury to be evidence of the validity or infringement of the patents-in-

suit. And even if this concern could be addressed, it would require significant trial time to do so.

        As an example, any discussion of ITC findings, and what weight may or may not be given

in the hypothetical negotiation to such findings, would require discussion of the differences

between ITC and district court proceedings in general, and the differences between the specific

prior ITC cases between EcoFactor and ecobee and the present case. Parties to the hypothetical

negotiation, if they were to weigh ITC litigation outcomes as part of their negotiations, would

necessarily consider the fact that such findings would not have preclusive effect. See Tex.

Instruments Inc. v. Cypress Semiconductor Corp., 90 F.3d 1558, 1569 (Fed. Cir. 1996) (“Congress

did not intend decisions of the ITC on patent issues to have preclusive effect.”); Swagway, LLC v.

Int’l Trade Comm’n, 923 F.3d 1349 (Fed. Cir. 2019) (same quotation, vacated in part on other

grounds); see also Tex. Instruments Inc. v. Int’l Trade Comm’n, 851 F.2d 342, 344 (Fed. Cir.

1988) (“the ITC’s determinations regarding patent issues should be given no res judicata or

collateral estoppel effect”). They would also factor in that certain ITC findings were predicated on

claim constructions that have been rejected by district courts, including this one. The parties would




                                                   4
         Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 9 of 22




also necessarily consider whether the evidence of infringement at the ITC is the same as the

evidence in the present case. For example, the claim term “outside temperature measurements”

appears in all three patents previously tried against ecobee at the ITC and in the ’186 and ’100

patents at issue in Case No. 6:21-cv-00428. In the 1185 and 1258 ITC cases, both ALJ and

Commission decisions found in ecobee’s favor that this claim limitation was not infringed. But

there is significant new documentary evidence and deposition testimony from ecobee’s weather

data providers in this case that was not available at the ITC. As another example, EcoFactor’s case

here involves newer product features that were not previously adjudicated in one or both ITC cases.

A hypothetical negotiation based on the assertion of patents at the ITC would necessarily have to

take such issues into account, and thus these issues would have to be addressed at trial, which

would necessitate extensive evidence of confusing matters not directly relevant to the case at hand.

       Similarly, dropped patents would also need to be discussed. If the parties at the hypothetical

negotiation were assumed to weigh the value of other patents asserted in litigation between the

parties, they would necessarily consider whether said patents were eventually dropped from that

litigation, as Ms. Bennis does. Ex. 1 at 28 (Summary of EcoFactor and ecobee Litigation History,

with grey highlights on dismissed patents). ecobee should be precluded from introducing any

evidence or argument concerning patents or claims that were previously asserted but are no longer

at issue, products that are no longer accused, and/or non-asserted theories of infringement. Courts

routinely exclude evidence of dropped patents under Federal Rule of Evidence 403 because of the

high risk of jury confusion. See, e.g., Cordis Corp. v. Medtronic AVE, Inc., 511 F.3d 1157, 1183-

84 (Fed. Cir. 2008) (affirming exclusion of evidence of unasserted patents and claims under FRE

403); PACT XXP Technologies, AG v. Xilinx, Inc., No. 2:07-CV-563, 2012 WL 2774971, at *2

(E.D. Tex. May 13, 2012) (“It is not clear why the Court should permit any party to introduce




                                                 5
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 10 of 22




patents that are not asserted in this case.”); Rembrandt Wireless Techs., LP v. Samsung Elecs. Co.,

No. 2:13-CV-213, 2015 WL 627430, at *1 (E.D. Tex. Jan. 31, 2015) (granting Plaintiff’s motion

in limine to exclude evidence of “litigation brought by [Plaintiff] unrelated to the patents-in-suit”).

       ecobee may argue that Ms. Bennis’ opinion that the parties would divide the Daikin lump

sum amount by the 16 patents would not necessarily require discussing the details of the cases

involving all of those patents. But that is not what Ms. Bennis says in her report. As noted above,

she discusses these other litigation matters in detail throughout her report, and she argues that

“using the book of wisdom, the hypothetical negotiators would also recognize that, of the 16

patents asserted against ecobee, at least the ’497 patent, the ’322 patent, the ’382 patent, the ’550

patent, U.S. Patent No. 8,886,488, and the ’597 patent had all been found invalid and/or

noninfringed by ecobee in separate proceedings.” Ex. 1 at 90; see also id. at 91 (“Mr. Kennedy’s

damages opinion ignores the reality that many of EcoFactor’s patents (other than the three patents-

in-suit at issue in this litigation) have been invalidated.”). Moreover, as discussed below, any

rebuttal of Ms. Bennis’ assumption that the parties would treat all 16 patents across many cases as

having equal value would need to address the facts showing why this assertion is untrue.

       Because Ms. Bennis’ calculation of a reasonable royalty is based on the assumption that

the parties to the hypothetical negotiation would consider all 16 patents ever asserted by EcoFactor

against ecobee—which would necessarily result in great prejudice to EcoFactor and significant

juror confusion—her affirmative opinion on the reasonable royalty should be excluded, and all

references to EcoFactor’s other cases against ecobee should be excluded as well.

                       3.      Ms. Bennis’ assumption that all patents asserted against ecobee
                               have equal value is unfounded and contrary to law.
       In dividing the Daikin lump sum payment by the number of patents asserted by EcoFactor

against ecobee across several litigations, and then opining that the resulting per-patent rate is the



                                                  6
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 11 of 22




reasonable royalty for each patent-in-suit, Ms. Bennis expressly assumes that “each of the 16

patents asserted against ecobee across WDTX1, WDTX2, D. Del., and WDTX3 are equally as

valuable.” Ex. 1 (Bennis Rpt.) at 124. However, “[t]he case law is clear that mere

patent counting and dividing is not enough” to satisfy “the fundamental notion that a patent

damages methodology must be ‘tied to the relevant facts and circumstances of the case at issue.’”

Golden Bridge Tech. v. Apple Inc., No. 5:12-CV-04882-PSG, 2014 WL 2194501, at *6 (N.D. Cal.

May 18, 2014). And Ms. Bennis’ assumption that these 16 patents would have equal value at the

hypothetical negotiation is especially flawed, as it ignores the required presumption that the parties

to the hypothetical negotiation agree that the patents in this case are valid and infringed—a

presumption that does not apply to other patents. See, e.g., Videoshare, LLC v. Google LLC, No.

6:19-cv-663-ADA, Dkt. 215 (W.D. Tex. Nov. 15, 2021) (Final Jury Instructions) (explaining that,

in determining what the parties would agree to at the hypothetical negotiation, “you must assume

that both parties believed the patent was valid and infringed”).

       Ms. Bennis’ assumption that the parties would place equal value on every EcoFactor patent

asserted against ecobee is contradicted by the litigation details she repeatedly cites to throughout

her report. She provides no reasoned explanation as to why the parties to the hypothetical

negotiation would conclude that dropped or invalidated patents have equal value to the patents-in-

suit that she must assume are both valid and infringed. Ms. Bennis’ own chart summarizing the

EcoFactor and ecobee litigation history shows that four of the 16 patents are no longer asserted

against ecobee in any litigation. See, e.g., Ex. 1 (Bennis Rpt.) at 113, n.606 (“Cells highlighted in

grey represent patents that have been, or were, dismissed from their respective proceedings.”). Yet,

she still opines that dropped patents have equal value to the patents-in-suit. Id. at 124.

       Then there is the matter of patents that have been subject to adverse or favorable rulings.




                                                  7
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 12 of 22




For example, even though she asserts that the negotiators would be aware of adverse findings (id.

at 90), Ms. Bennis assumes that the parties would choose to ignore such adverse findings and place

the same value on patents invalidated in an IPR or found invalid in an ITC proceeding as on the

valid and infringed patents-in-suit (id. at 123-124). Ms. Bennis also provides no basis for her

assumption that the parties would maintain that each patent has equal value despite favorable

findings on specific patents, such as where district courts have rejected ecobee’s indefiniteness

challenges, all of which she ignores in her report.

       The only support Ms. Bennis identifies for her assumption that “each of the 16 patents

asserted against ecobee across WDTX1, WDTX2, D. Del., and WDTX3 are equally as valuable”

is her assertion that EcoFactor’s expert, Mr. David Kennedy, allegedly makes the same

assumption. Ex. 1 (Bennis Rpt.) at 123-24. But Mr. Kennedy makes no such assumption, and he

certainly never opines that the parties to the hypothetical negotiation would agree that the valid

and infringed patents-in-suit would have the same value as those whose validity and infringement

is disputed, or that ecobee would put the same value on patents asserted against it as on patents

asserted and then dropped. In any case, Ms. Bennis rejects every aspect of Mr. Kennedy’s opinion

except the opinion that EcoFactor’s licenses with Daikin, Schneider and Johnson Controls are

highly comparable to the hypothetical negotiation. Id. at 120 (“I agree [with Mr. Kennedy] that

‘[e]ach of these three licenses covered the same technology areas that are at issue in this matter,

they involved the same licensor, they were executed within one to two years of this Hypothetical

Negotiation, . . . and they covered highly comparable products.”).1 She specifically criticizes the

alleged assumption by Mr. Kennedy that EcoFactor would license any of its patents at the same

rate. Id. at 83-84. An expert cannot criticize another expert’s methodology in rebuttal, and then


1
  It is unclear why Ms. Bennis bases her opinion on the Daikin license alone, despite having
concluded that all three of EcoFactor’s licenses are highly comparable.

                                                 8
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 13 of 22




turn around and rely on the same methodology for their affirmative opinion. See, e.g., Mondis

Tech. Ltd. v. LG Elecs., Inc., No. CV 15-4431 (SRC), 2021 WL 4077563, at *14 (D.N.J. Sept. 8,

2021) (“Mondis cannot convince this Court that expert testimony that discredits a method, but then

relies on that discredited method, is helpful to the trier of fact.”). But that is exactly what Ms.

Bennis does, and her misrepresentation of Mr. Kennedy’s actual opinion does not make her house-

of-cards opinion any more logical or supported.

       Ms. Bennis also claims that the parties to the hypothetical negotiation necessarily would

consider as part of their negotiation every patent that EcoFactor had asserted or in the future would

assert against ecobee, in order to avoid “an improper risk of double recovery for licensing of the

same patents.” Ex. 1 (Bennis Rpt.) at 81. But at the time of the hypothetical negotiation, and indeed

today, any other recovery against ecobee for any patents besides the patents-in-suit is entirely

speculative. The parties to the hypothetical negotiation would have no idea if ecobee would be

required to take a license to any other patent, or what the rate would be. That is, in fact, exactly

why Ms. Bennis’ assumption that the parties would value those other patents the same as the valid

and infringed patents-in-suit is entirely contrary to logic, the facts, and the law.

       B.      Ms. Bennis Relies on ecobee Licenses that She Fails to Establish Are
               Comparable to the Hypothetical Negotiation
       For a damages expert, such as Ms. Bennis, to present evidence of an agreement as part of

her damages opinion, the Federal Circuit requires that “there must be a basis in fact to associate

the royalty rates used in prior licenses to the particular hypothetical negotiation at issue in the

case.” Uniloc U.S.A. v. Microsoft Corp., 632 F.3d 1292, 1317 (Fed. Cir. 2011); see also Finjan,

Inc. v. Secure Computing Corp., 626 F.3d 1197, 1211 (Fed. Cir. 2010) (“[U]se of past patent

licenses under factors 1 and 2 must account for differences in the … economic circumstances of

the contracting parties.”). It is Ms. Bennis’ (and ecobee’s) burden to establish the economic



                                                   9
          Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 14 of 22




comparability of the agreements on which she relies. Lucent Techs., Inc. v. Gateway, Inc., 580

F.3d 1301, 1329 (Fed. Cir. 2009). Ms. Bennis relies on ecobee licenses for which she fails to

establish economic comparability, and therefore these opinions should be excluded.

                       1.     Ms. Bennis again relies on improper and unsupported patent
                              counting in her opinion on ecobee’s license with Stingray.
       Although the calculation dividing the          lump sum by 16 patents is the basis of Ms.

Bennis’           -per-patent reasonable royalty, she opines that “[t]he hypothetical negotiators

would also recognize that such a royalty is reasonable in light of ecobee’s existing licenses,”

specifically a license between ecobee and                         . Ex. 1 (Bennis Rpt.) at 124-25.

ecobee paid




                                                                 Id.

       However, as discussed above, “assuming all                       have equal value” is not

sufficiently tied to the facts of the case. See Golden Bridge, 2014 WL 2194501, at *6. Ms. Bennis

provides no support for assuming all the Stingray patents have equal value to ecobee, nor cites to

any technical opinion supporting that assumption. In fact, it is contradicted by the evidence.

       First,




                                                10
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 15 of 22




          Ex. 2 (ecobee-WDTXII_00001151) at ecobee-WDTX_00001156-1157; Ex. 3 (claim

chart produced as ecobee-WDTXII_00000995-1010); Ex. 4 (claim chart produced as ecobee-

WDTXII_00001011-1027); Ex. 5 (claim chart produced as ecobee-WDTXII_00001028-1043).

       Moreover, patent counting is particularly problematic where, as here, the patents are

alleged to read against a standard. As several courts have noted, “[p]atent counting, or counting the

number of patents essential to a standard and determining the value of a single patent by dividing

the value of the standard by the number of essential patents, is imprecise because it does not

account for the value of the asserted patent relative to the other standard essential patents.” GPNE

Corp. v. Apple, Inc., No. 12-CV-02885-LHK, 2014 WL 1494247, at *7 (N.D. Cal. Apr. 16, 2014);

see also Golden Bridge, 2014 WL 2194501, at *6 (there is “no case law supporting the notion that

a claimed standard-essential patent gets a free pass on the fundamental notion that a patent

damages methodology must be ‘tied to the relevant facts and circumstances of the case at issue.’ If

anything, the case law is clear that mere patent counting and dividing is not enough.”).

       GPNE notes that “[a]lthough patent counting is of limited probative value, as long as the

expert adjusts her final royalty figure based on the value of the asserted patent relative to the

other standard essential patents,” a patent counting approach is not by itself grounds for

exclusion. GPNE, 2014 WL 1494247, at *7. But Ms. Bennis makes no such adjustment. Her

opinion on the Stingray license should therefore be excluded.




                                                 11
Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 16 of 22
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 17 of 22




       Moreover, to establish economic comparability with respect to lump sum agreements, an

expert must, at a minimum, consider expected or actual extent of use. Wordtech Sys., Inc. v.

Integrated Network Sols., Inc., 609 F.3d 1308, 1320 (Fed. Cir. 2010) (“Neither license describes

how the parties calculated each lump sum, the licensees’ intended products, or how many products

each licensee expected to produce … Thus, without additional data, the licenses offered the jury

little more than a recitation of royalty numbers.”); see also Linksmart Wireless Tech. LLC v. Gogo,

LLC, 8:18-CV-00654-JAK (JDEx), Dkt. No. 296, at *4-5 (C.D. Cal. Sept. 3, 2021) (explaining

and relying on the holding in Wordtech). Ms. Bennis does not address whether ecobee ever used,

or intended to use, the patented technology licensed in these agreements, let alone whether the

extent of that use was comparable to ecobee’s alleged infringement in this case. Ms. Bennis should

therefore be precluded from relying on the rates in                                                .

       C.      In Comparing the Size of EcoFactor’s Licensees to the Size of ecobee, Ms.
               Riley Improperly Relies on The Licensees’ Worldwide Revenues
       The parties agree that EcoFactor’s licenses with Daikin, Schneider, and JCI are highly

comparable to the license negotiated at the hypothetical negotiation. Ms. Bennis sought to account

for economic differences between these existing licenses and the hypothetical license between

EcoFactor and ecobee by comparing the total net revenues earned by ecobee to the total worldwide

revenues earned by Daikin, Schneider, and JCI. Ex. 1 (Bennis Rpt.) at 122-23. She made this

comparison in the context of rebutting Mr. Kennedy’s own economic comparability analysis, in

which Mr. Kennedy compared the licensees’ market share to ecobee’s market share in the smart

thermostat market, given that EcoFactor has consistently asserted that its patents cover smart

thermostat products made by the licensees. Ms. Bennis, however, argues that the better comparison

is the “relative size of these overall companies and their presence in the HVAC market,” because

the EcoFactor licenses                      , and patents in that portfolio may read on other of the



                                                13
Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 18 of 22
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 19 of 22




sales as a stand-in for actual licensed sales under an agreement). This is grounds for exclusion. Id.

       Ms. Bennis also has no basis to assume that the relevant revenue base for comparing

Daikin, Schneider, and JCI to ecobee is their total worldwide revenue from business segments that

include numerous non-accused products. Ms. Bennis concedes that the business segments include

numerous products that have absolutely no relevance to EcoFactor’s portfolio, such as JCI’s “fire-

detection systems and fire-suppressions solutions.” Ex. 1 (Bennis Rpt.) at 88. Nonetheless, she

makes no attempt to adjust the revenues to exclude products that are not covered under the licenses.

Ms. Bennis posits that the licensees would value the freedom to operate in selling their non-accused

HVAC products, and simply assumes that EcoFactor’s patents could be asserted to cover all those

products. Neither Ms. Bennis nor any other ecobee expert provides any analysis supporting this

claim. Nor is there any evidence that EcoFactor, in making its claims against these companies’

smart thermostats, told the licensees it believed its patents have such wide application. This aspect

of Ms. Bennis’ opinion is completely speculative and is therefore unreliable. It should be excluded.

       D.       Ms. Bennis Improperly Relies on a Triple Hearsay Reference to a Valuation
                About Which Nothing Is Known, Including Whether It Even Exists
       Ms. Bennis agrees that EcoFactor’s Asset Purchase Agreement with Trane is not

comparable to the hypothetical negotiation, and she opines that “the rates contemplated [in the

Trane Agreement] would not be highly indicative to the outcome of the hypothetical negotiation.”

Ex. 1 (Bennis Rpt.) at 96-97. However, she nonetheless opines that the hypothetical negotiators

would rely on

                                      . Id. at 97. She opines that “[b]y February 2019, around the

time of the Asset Purchase Agreement,




                                                 15
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 20 of 22




applications included in the portfolio, was worth no more than                as of February 2019.”

Id. at 97 (emphasis added) (citing Ex. 7 (TRANE0000530, Trane email dated Feb. 8, 2019)). In

Ms. Bennis’ view, this reference to a purported              valuation would put a hard cap on the

reasonable royalty the parties would agree to at the hypothetical negotiation. Id.

       This opinion should be excluded because Ms. Bennis does not know who performed this

valuation, how it was performed, or even whether this supposed valuation was performed

according to any discernable and reliable methodology.




           Ms. Bennis is permitted to rely on hearsay, but there are limits, and this is one of them.

Rule 703 “was never intended to allow oblique evasions of the hearsay rule.” United States v.

Brownlee, 744 F.3d 479, 482 (7th Cir. 2014). Experts can rely on hearsay only “if experts in the

particular field would reasonably rely on those kinds of facts or data in forming an opinion on the

subject.” Fed. R. Evid. 703. Experts in Ms. Bennis’ field do not reasonably rely on internal email

exchanges referring to earlier conversations in which a valuation of unknown origin or

methodology was referenced as a definitive valuation of a patent portfolio. Given the unknown

methodology used to arrive at this purported valuation, its probative value does not “substantially

outweigh [its] prejudicial effect” under Rule 703. Ms. Bennis’ opinions relying upon or referencing

this purported valuation should therefore be excluded.




                                                  16
       Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 21 of 22




Date: December 30, 2022            Respectfully submitted,


                                   /s/ Reza Mirzaie
                                   Reza Mirzaie
                                   Marc A. Fenster
                                   Kristopher Davis
                                   James Pickens
                                   Minna Chan
                                   Jason Wietholter
                                   Russ August & Kabat
                                   12424 Wilshire Boulevard, 12th Floor
                                   Los Angeles, CA 90025
                                   Telephone: (310) 826-7474

                                   Matthew D. Aichele
                                   Russ August & Kabat
                                   800 Maine Ave SW, Suite 200
                                   Washington, DC. 20024
                                   Telephone: (202) 664-0623

                                   Attorneys for Plaintiff EcoFactor, Inc.




                                     17
        Case 6:21-cv-00428-ADA Document 78 Filed 01/09/23 Page 22 of 22




                             CERTIFICATE OF CONFERENCE
        I hereby certify that my firm, including James Pickens and Kris Davis, conferred with

Defendant’s counsel regarding the foregoing Motion on Wednesday, December 28, 2022,

following email correspondence identifying the proposed relief.

                                                     /s/ Reza Mirzaie


                                CERTIFICATE OF SERVICE
        I hereby certify that the counsel of record have been served electronically on December 30,

2022.

                                                     /s/ Reza Mirzaie




                                                18
